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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                         Plaintiff,                                 Case No. 20-cr-188 (JSR)

                    v.

RUBEN WEIGAND and HAMID AKHAVAN,

                         Defendants



                            DEFENDANTS’ PROPOSED VOIR DIRE


        Defendants Ruben Weigand and Hamid Akhavan respectfully request that the Court,

pursuant to Federal Rule of Criminal Procedure 24(a), include the questions below in its

questioning of prospective jurors, as a supplement to the questions typically asked by the Court.

Pursuant to Federal Rule of Criminal Procedure 24(a)(2)(b), the defendants also request permission

to submit further questions that the Court may ask based on juror responses.

        The defendants further request that the Court pursue additional questioning of prospective

jurors at sidebar or otherwise outside the hearing of other prospective jurors as appropriate to

determine whether circumstances would influence the juror in favor of or against any of the parties,

or otherwise affect the juror’s ability to serve as a fair and impartial juror in this case.

I.      SERVICE AS A JUROR DURING THE COVID-19 PANDEMIC

        1.       I expect this trial to last up to four weeks. Is there any reason, including any issue

related to the COVID-19 pandemic, that would make serving as a juror for that period of time a

genuine and undue hardship for you or your family?




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         2.       The Court has gone to great lengths to create a safe environment in light of the

COVID-19 pandemic. Even with such safety measures in place, would serving as a juror during

the pandemic prevent you from being a fair, impartial, and attentive juror?

II.      INTERACTIONS WITH THE LEGAL SYSTEM

         3.       Have you, or anyone close to you, ever studied law or worked in a law-related field?

If yes, describe. Is there anything about this experience that could influence your ability to be a

fair and impartial juror?

         4.       Do you know any attorneys, judges or court personnel? If yes, describe. Is there

anything about this experience that could influence your ability to be a fair and impartial juror?

         5.       Do you, or anyone close to you, have any law enforcement background, training or

experience? If yes, describe. Is there anything about this experience that could influence your

ability to be a fair and impartial juror?

         6.       Have you, or anyone close to you, ever considered pursuing a career in, or applied

for a job in, law enforcement, criminal justice, security or private investigations, other than what

you have already told us? If yes, describe. Is there anything about this experience that could

influence your ability to be a fair and impartial juror?

         7.       Have you, or anyone close to you, ever had contact with any law enforcement

person, agency or organization for work, social, educational or other reasons? If yes, describe. Is

there anything about this experience that could influence your ability to be a fair and impartial

juror?

         8.       Have you, or anyone else close to you, ever been employed by any law enforcement

agency or institution in a civilian capacity? If yes, describe.




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         9.       Have any of you, or anyone else close to you, ever been involved in any

investigation by federal or state law enforcement authorities? Such involvement includes being a

witness, or being someone who complains of a crime. Is there anything about this experience that

could influence your ability to be a fair and impartial juror?

         10.      Have you, or anyone else close to you, ever been investigated, arrested or charged

in a criminal case? [Defendants request that the Court follow up in such areas outside the

presence of other prospective jurors.] If so, is there anything about that experience that could

cause you to be unfair or impartial?

         11.      Have you, or anyone close to you, ever been a victim of a crime? [Defendants

request that the Court follow up in such areas outside the presence of other prospective

jurors.] Is there anything about this experience that could influence your ability to be a fair and

impartial juror?

         12.      Do you have prior jury experience? Is there anything about this experience that

could influence your ability to be a fair and impartial juror?

III.     ATTITUDES CONCERNING DRUG USE

         13.      Are you involved in, or in any way supportive of, organizations that oppose the use

of drugs such as DARE, MADD, AA, or Partnership for a Drug Free America? If yes, describe.

Is there anything about this involvement that could influence your ability to be a fair and impartial

juror?

         14.      Do you have any moral, religious, personal or other opposition to the use of drugs?

If yes, describe. Is there anything about these beliefs that could influence your ability to be a fair

and impartial juror?




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       15.     Do you have any strong feelings about the people who use or sell marijuana? If

yes, describe. Is there anything about these feelings that could influence your ability to be a fair

and impartial juror?

IV.    EXPERIENCE IN THE FINANCIAL WORLD

       16.     Do you, or anyone close to you, have experience, education or training in the

financial sector, including banking, credit card processing, and audits? Is there anything about this

experience that could influence your ability to be a fair and impartial juror?

       17.     Do you, or anyone close to you have experience, education or training in planning

business structures? Is there anything about this experience that could influence your ability to be

a fair and impartial juror?

       18.     Do you have any opinions about people or companies that conduct banking and

financial activities in foreign countries? If so, is there anything about those opinions that could

influence your ability to be a fair and impartial juror?




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